
6 N.Y.3d 848 (2006)
PEOPLE v. GOODE.
Court of Appeals of the State of New York.
April 27, 2006.
Application in criminal cases for leave to appeal denied.[1] (Rosenblatt, J.).
NOTES
[1]  Denied with leave to renew within 30 days after the Court of Appeals renders a decision in People v. Utsey (22 AD3d 268 [2005], lv granted 6 NY3d 781 [2006]), People v. Nelson (21 AD3d 861 [2005], lv granted 6 NY3d 757 [2005]) and People v. Smith (23 AD3d 280 [2005], lv granted 6 NY3d 759 [2005]).

